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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8   UNITED STATES OF AMERICA,

 9                                Plaintiff,             CASE NO. C06-026-RSL

10          v.
                                                         PROPOSED FINDINGS OF FACT AND
11   AWAD YIMER AYNISHER,                                DETERMINATION AS TO ALLEGED
                                                         VIOLATIONS OF SUPERVISED
12                                Defendant.             RELEASE

13

14                                             INTRODUCTION

15          I conducted a hearing on February 10, 2015, in a related case pending against this

16   defendant (CR14-353 RSL).      Defendant entered a plea of guilty to the charge of felon in

17   possession in that case. At the same hearing, the parties and court addressed the pending charges

18   of violations of supervised release in this case (CR 06-26 RSL).        The United States was

19   represented by Todd Greenberg and Andrew Friedman, and defendant was represented by

20   Sandra Denton. The proceedings were digitally recorded.

21                                  CONVICTION AND SENTENCE

22          Defendant was sentenced in this case on July 27, 2006, on a charge of conspiracy to

23   distribute cocaine base. The Hon. Robert S. Lasnik of this court sentenced defendant to 120

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 1   months in custody, followed by five years of supervised release.

 2                                   ALLEGED VIOLATIONS AND
                                     DEFENDANT'S ADMISSIONS
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 4          In an application dated October 7, 2014, USPO Jennifer Van Flandern alleged that

 5   defendant violated the conditions of supervised release in five respects:

 6          (1)     Committing the crime of felon in possession of a firearm, on or about October 5,

 7                  2014;

 8          (2)     Committing the crime of driving while under the influence, on or about October

 9                  5, 2014;

10          (3)     Committing the crime of driving while license suspended, on or about October 5,

11                  2014;

12          (4)     Possession a firearm, on or about October 5, 2014, in violation of general

13                  conditions of supervised release; and

14          (5)     Using alcohol on or about October 5, 2014, in violation of his special condition of

15                  supervised release.

16   I advised defendant that he was entitled to an evidentiary hearing on these charges, and that the

17   United States had the burden of proof as to each alleged violation. But he waived his right to

18   such a hearing, admitted each of the alleged violations, and consented to have the revocation

19   matter set for disposition before Judge Lasnik. The parties agreed that the disposition of the

20   revocation of supervised release should be set with the sentencing hearing in the related case, CR

21   14-353 RSL. That hearing has been set for June 12, 2015 at 10:30 a.m.

22                          RECOMMENDED FINDINGS AND CONCLUSIONS

23          Based upon the foregoing, I recommend the court find that defendant has violated the

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 1   conditions of his supervised release in all five respects alleged, and conduct the disposition

 2   hearing.

 3          Defendant has been detained pending a final determination by the court.

 4          DATED this 10th day of February, 2015.

 5                                                 s/ John L. Weinberg
                                                   United States Magistrate Judge
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     PROPOSED FINDINGS OF
     FACT AND DETERMINATION
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